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         EXHIBIT B
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      Counsel for Individual and Representative
14    Plaintiffs and the Proposed Class

15    [Additional Counsel Listed on Signature Page]

16
                                UNITED STATES DISTRICT COURT
17
                               NORTHERN DISTRICT OF CALIFORNIA
18                                 SAN FRANCISCO DIVISION

19
     Richard Kadrey, et al.,                                    Lead Case No. 3:23-cv-03417-VC
20                                                              Case No. 4:23-cv-06663
                   Individual and Representative Plaintiffs,
21                                                              NOTICE OF DEPOSITION PURSUANT
     v.                                                         TO FED. R. CIV. P. 30(b)(6) TO META
22                                                              PLATFORMS, INC.
23   Meta Platforms, Inc.,
                                                                Date:     September 30, 2024
                                                  Defendant.    Time:     9:00 a.m., local time
24
                                                                Location: 601 California St Suite 1505, San
25                                                                        Francisco, CA 94108

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      Lead Case No. 3:23-cv-03417-VC
31          NOTICE OF DEPOSITION PURSUANT TO FED. R. CIV. P. 30(B)(6) TO META PLATFORMS, INC.
            Case 3:23-cv-03417-VC Document 162-2 Filed 09/20/24 Page 3 of 7



 1          TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

 2          PLEASE TAKE NOTICE that, in accordance with Rule 30(b)(6) of the Federal Rules of Civil

 3   Procedure, Meta Platforms, Inc. (“Meta”) is hereby directed to designate one or more officers,

 4   directors, managing agents, or other persons who consent to testify and are most knowledgeable and

 5   competent to testify regarding the following topics and related or supporting facts occurring between

 6   January 1, 2016 and the present (the “Relevant Period”):

 7          1.      Meta’s curation of datasets to train its Large Language Models;

 8          2.      Meta’s dataset ablation experiments;

 9          3.      Meta’s copying of the datasets commonly known as “Books3”,“The Pile”, and
10   “Library Genesis”, the individuals who made these copies, the content of these datasets, and Meta’s

11   communications with the creators of “Books3” and “The Pile”;

12          4.      The specific Meta LLMs trained on datasets that included material sourced from

13   “Books3”, “The Pile” and “Library Genesis”;

14          5.      Meta’s gathering of works, including copyrighted works, from public websites for use as

15   training data, including “shadow library” websites like Library Genesis, Bibliotik, and Anna’s Archive;

16          6.      Meta’s knowledge that its LLM datasets included copyrighted material;

17          7.      Reproductions and storage of these datasets;

18          8.      All internal policies, including approval policies, relating to these datasets;

19          9.      Whether Meta still uses these datasets for LLM training purposes, and if not, why it no

20   longer uses these datasets;
21          10.     The contents of the datasets Meta has produced in this case, labeled

22   Meta_Kadrey_Data_001, Meta_Kadrey_Data_002, Meta_Kadrey_Data_003,

23   Meta_Kadrey_Data_004, and Meta_Kadrey_Data_005.

24          11.     Meta’s attempts to license textual works from third parties.

25          The deposition will commence on September 30, 2024, beginning at 9:00 a.m., local time and

26   continuing from day to day thereafter until completed, at the offices of Joseph Saveri Law Firm, LLP,
27   601 California St. Suite 1505, San Francisco, CA 94108. The deposition will be taken before a notary

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      Lead Case No. 3:23-cv-03417-VC            1
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 1   public or other officer duly authorized to administer oaths and take testimony and will be recorded by

 2   stenographic and videographic means.

 3

 4   Dated: September 16, 2024                       By:          /s/ Joseph R. Saveri
                                                                   Joseph R. Saveri
 5
                                                     Joseph R. Saveri (State Bar No. 130064)
 6                                                   Cadio Zirpoli (State Bar No. 179108)
                                                     Christopher K.L. Young (State Bar No. 318371)
 7                                                   Holden Benon (State Bar No. 325847)
                                                     Aaron Cera (State Bar No. 351163)
 8                                                   Margaux Poueymirou (State Bar No. 356000)
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      Lead Case No. 3:23-cv-03417-VC            2
31          NOTICE OF DEPOSITION PURSUANT TO FED. R. CIV. P. 30(b)(6) TO META PLATFORMS, INC.
          Case 3:23-cv-03417-VC Document 162-2 Filed 09/20/24 Page 5 of 7



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27                                             Counsel for Individual and Representative
                                               Plaintiffs and the Proposed Class
28

     Lead Case No. 3:23-cv-03417-VC            3
31         NOTICE OF DEPOSITION PURSUANT TO FED. R. CIV. P. 30(b)(6) TO META PLATFORMS, INC.
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 1                                      CERTIFICATE OF SERVICE

 2           I, the undersigned, am employed by the Joseph Saveri Law Firm, LLP. My business address is

 3   601 California Street, Suite 1505, San Francisco, California 94108. I am over the age of eighteen and not

 4   a party to this action.

 5           On September 16, 2024, I caused the following documents to be served by email upon the

 6   parties listed on the attached Service List:

 7       •   NOTICE OF DEPOSITION PURSUANT TO FED. R. CIV. P. 30(b)(6) TO META
             PLATFORMS, INC.
 8

 9       I declare under penalty of perjury that the foregoing is true and correct. Executed September 16,
10   2024, at San Francisco, California.

11

12

13
                                                      By:
14                                                                 Ruby Ponce

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      Lead Case No. 3:23-cv-03417-VC            4
31          NOTICE OF DEPOSITION PURSUANT TO FED. R. CIV. P. 30(b)(6) TO META PLATFORMS, INC.
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22
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23

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       Lead Case No. 3:23-cv-03417-VC            5
31           NOTICE OF DEPOSITION PURSUANT TO FED. R. CIV. P. 30(b)(6) TO META PLATFORMS, INC.
